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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 THE PENNSYLVANIA STATE                               No. 4:21-CV-01091
 UNIVERSITY,
                                                      (Chief Judge Brann)
                 Plaintiff,

           v.

 VINTAGE BRAND, LLC,

                 Defendant.

                                       ORDER

                                    AUGUST 8, 2023

      Before the Court are several motions filed by the parties. They include

Vintage Brands’ motion for summary judgment (Doc. 110) and its motion to exclude

Penn State’s expert (Doc. 93); as well as Penn State’s motion for partial summary

judgment (Doc. 113) and its motion to exclude Vintage Brands’ expert (Doc. 95).

AND NOW, this 8th day of August 2023, IT IS HEREBY ORDERED that:

      1.        A Daubert hearing and oral argument on motions for summary

                judgment are scheduled for August 28, 2023, at 10:00 a.m. and

                August 29, 2023, at 10:00 a.m., in Courtroom One, Fourth Floor,

                United States Courthouse and Federal Building, 240 West Third Street,

                Williamsport, PA 17701.
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               a.      The Daubert hearing shall begin at 10:00 a.m. on August 28,

                       2023 and continue until the parties have presented all the

                       evidence they wish to present. Each expert shall testify as to their

                       own affirmative findings and their rebuttal findings in one direct

                       examination, to be followed by cross examination.1

               b.      The oral argument shall commence following the Daubert

                       hearing.2 Vintage Brands shall have one hour to both argue in

                       support of its motion and against Penn State’s motion. Then Penn

                       State shall have one hour to argue in support of its motion and

                       against Vintage Brand’s motion. Following both parties’ initial

                       presentations, the Court will ask the parties its own questions

                       about their arguments and permit limited rebuttal to arguments

                       made in the parties’ initial presentations.

       2.      Each party shall submit to the deputy clerk before or at the outset of the

               hearing and argument two (2) complete exhibit lists3 and two (2)

               complete sets of exhibits for the Court’s use, in addition to the original

               copies that will be offered into evidence. The lists and exhibits shall be

               contained in 3-ring binders. (At the conclusion of the hearing, counsel


1
  It is anticipated that Mr. David Franklyn, Penn State’s expert, will testify first. Vintage Brands
  may then present its two experts in whatever order it desires.
2
  Depending on the Court’s schedule, counsel are welcome to request a break before transitioning
  from the Daubert hearing to the oral argument.
3
  See attached form. You may contact Chambers to obtain a Word version of this form.
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     shall be responsible for assuming custody of all of their respective

     original exhibits.) The parties may also submit to the Court two (2)

     copies of a concise Table of Authorities listing the legal sources on

     which they plan to rely in addition to their exhibit binders detailed

     above.


                                    BY THE COURT:


                                    s/ Matthew W. Brann
                                    Matthew W. Brann
                                    Chief United States District Judge
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Caption:

Case No:

Judge:

Date:

                                         EXHIBIT LIST



                 Completed by Counsel                   Completed by Courtroom Deputy
 Exhibit No.            Exhibit Description           Date        Date        Witness
  (P/D-#)                                           Identified Admitted




                                                                                 Page 1 of 1
